Case 2:18-cv-03325-MWF-AS Document 58 Filed 07/31/19 Page 1 of 7 Page ID #:438


                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES—GENERAL

 Case No. CV 18-3325-MWF (ASx)                       Date: July 31, 2019
 Title:   Amazon Content Services, LLC et al. v. Set Broadcast, LLC, et al.
 Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                             Court Reporter:
           Rita Sanchez                              Not Reported

           Attorneys Present for Plaintiff:          Attorneys Present for Defendant:
           None Present                              None Present

 Proceedings (In Chambers): ORDER RE: MOTION FOR DEFAULT JUDGMENT
                            [53]

        Before the Court is Plaintiffs Amazon Content Services, LLC, et al.’s Motion for
 Default Judgment Against Defendant Set Broadcast, LLC d/b/a Setvnow (“Set
 Broadcast”) (the “Motion”), filed on June 28, 2019. (Docket No. 53). No opposition
 to the Motion was filed.

       The Court has read and considered the papers filed in connection with the
 Motion and held a hearing on July 29, 2019. Counsel for Plaintiffs attended and no
 one purporting to represent Set Broadcast appeared at the hearing.

        For the reasons discussed below, the Motion is GRANTED. Plaintiffs have
 satisfied all procedural and substantive requirements for a default judgment. Plaintiffs
 are awarded $7,650,000 in damages.

 I.    BACKGROUND

      Plaintiffs commenced this action on April 20, 2018. (See generally Complaint
 (“Compl.”) (Docket No. 1)).

        The Complaint contains the following allegations, which are accepted as true for
 purposes of the Motion. See Fed. R. Civ. P. 8(b)(6); NewGen, LLC v. Safe Cig, LLC,
 840 F.3d 606, 617 (9th Cir. 2016) (“[U]pon default the factual allegations of the
 complaint, except those relating to the amount of damages, will be taken as true.”)
 (internal quotation marks and citations omitted).
 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              1
Case 2:18-cv-03325-MWF-AS Document 58 Filed 07/31/19 Page 2 of 7 Page ID #:439


                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

 Case No. CV 18-3325-MWF (ASx)                       Date: July 31, 2019
 Title:   Amazon Content Services, LLC et al. v. Set Broadcast, LLC, et al.
       Plaintiffs are primarily Delaware corporations with their principal places of
 business in California. (Compl. ¶¶ 5-15). Defendant Set Broadcast is a Florida
 corporation with its principal place of business in Seminole, Florida. (Id. ¶ 17).
 Defendant Jason Labbosiere is the owner and operator of Set Broadcast and a resident
 of Florida. (Id. ¶ 18). Defendant Nelson Johnson is an employee and former
 authorized manager of Set Broadcast, also residing in Florida. (Id. ¶ 19).

        Plaintiffs and affiliates produce some of the most popular and critically
 acclaimed motion pictures and television shows in the world. (Id. ¶ 24). Plaintiffs
 invest substantial resources to develop, produce, distribute, and publicly perform their
 copyrighted works (the “Copyrighted Works”), and have the exclusive U.S. rights to
 do so. (Id. ¶¶ 25-26). Plaintiffs’ content has been streamed without authorization
 through Defendants’ service, Setvnow. (See generally id. ¶¶ 31-47).

        Defendants operate the source to which Setvnow links. (Id. ¶ 28). Defendants
 promote Setvnow as a substitute for cable television subscriptions and video-on-
 demand services like Amazon Prime Video and Netflix. (Id. ¶ 42). Once customers
 purchase a monthly subscription plan, they need only “download and install the
 Setvnow application on their laptop, mobile device, [or] tablet” to have access to
 “high-quality, high-speed streams of infringing content.” (Id. ¶ 30). Setvnow’s user
 interface provides simple click-to-play options for content. (Id. ¶ 31). When a user
 selects any of the provided menu links, Setvnow begins streaming the selected content
 from third-party sources, including live transmissions of cable channels and illicit
 reproductions of movies and television shows. (Id. ¶¶ 32-33).

        Defendants’ business relies on “high-volume use of unauthorized content
 through the Setvnow application.” (Id. ¶ 45). Defendants advertise Setvnow in
 promotional videos that tell customers they can “start enjoying live TV and videos on
 demand easily and conveniently” and that Setvnow will “provide the on-demand
 television shows and movies that you were looking for.” (Id. ¶ 42). Defendants also
 utilize sponsored reviews to proliferate their service to a wider audience. (Id. ¶ 43).



 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              2
Case 2:18-cv-03325-MWF-AS Document 58 Filed 07/31/19 Page 3 of 7 Page ID #:440


                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

 Case No. CV 18-3325-MWF (ASx)                       Date: July 31, 2019
 Title:   Amazon Content Services, LLC et al. v. Set Broadcast, LLC, et al.
        Finally, Defendants utilize incentive programs where customers can refer friends
 and family to use Setvnow in exchange for “rewards and cash.” (Id. ¶ 46). Thus,
 Defendants’ revenues are based on an “increase in demand for Setvnow,” which is
 directly driven by the service’s promise to customers of “all-inclusive access to
 infringing content for only $20 per month.” (Id. ¶ 47).

        Plaintiffs assert two claims for relief: (1) violation of 17 U.S.C. § 106 by
 intentionally inducing the infringement of the Copyrighted Works, and (2) violation of
 17 U.S.C. § 106 by knowingly and materially contributing to the infringement of the
 Copyrighted Works.

        Through the Motion, Plaintiffs seek a judgment against Defendant Set Broadcast
 for $7,650,000, injunctive relief, and post-judgment interest. (Mot. at 11-17).

 II.   DISCUSSION

       A.     Failure to Retain Counsel and Other Procedural Requirements

       Having reviewed the filings in this action, the Court is satisfied that Plaintiffs
 have met all procedural requirements for obtaining a default judgment against Set
 Broadcast.

         Plaintiffs filed their Complaint on April 20, 2018, which was followed by Set
 Broadcast’s retaining counsel and filing an Answer on June 19, 2018. (Mot. at 4). The
 parties exchanged some initial discovery and attempted settlement negotiations. (Id.).
 Counsel for Defendants withdrew on April 17, 2019. (Docket No. 45). The Court
 stayed this action until May 13, 2019, to permit Set Broadcast to file a notice with the
 Court that it had retained new counsel. (See id.). The Court ordered Set Broadcast to
 “show cause, in writing, by no later than May 13, 2019, why the Answer filed on June
 18, 2018, should not be stricken for failure to retain counsel.” (Id.). The Court further
 directed Plaintiffs to apply for entry to default by May 20, 2019, should Set Broadcast
 fail to respond to the Court’s Order to Show Cause (“OSC”). (Id.).


 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              3
Case 2:18-cv-03325-MWF-AS Document 58 Filed 07/31/19 Page 4 of 7 Page ID #:441


                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

 Case No. CV 18-3325-MWF (ASx)                       Date: July 31, 2019
 Title:   Amazon Content Services, LLC et al. v. Set Broadcast, LLC, et al.
        Set Broadcast failed to respond to the OSC. On May 20, 2019, Plaintiffs applied
 to the Clerk for entry of default, and the Clerk entered default pursuant to Federal Rule
 of Civil Procedure 55(a) on May 28, 2019. (Docket Nos. 47, 49).

        As a matter of discretion, the Court requires that a plaintiff serve a motion for
 default judgment on the relevant defendant(s). The Court does not require service
 under Rule 4 but does require that the service is reasonably likely to provide notice to
 the defendant(s). On June 28, 2019, Plaintiffs served the Motion on Set Broadcast by
 certified mail to Set Broadcast’s principal place of business, by certified mail to its last
 known registered agent for service of process, and by electronic mail to the last known
 email address of its owner and operator, co-Defendant Labossiere. (Declaration of
 Elizabeth A. Kim ¶ 4 (Docket No. 53-2)). The Court is therefore satisfied that Set
 Broadcast has actual notice of the Motion.

        Federal Rule of Civil Procedure 55(b) permits a court-ordered default judgment
 following the entry of default by the clerk under Rule 55(a). Having reviewed the
 filings in this action, the Court determines that the five procedural requirements of
 Federal Rule of Civil Procedure 55 and Local Rule 55-1 are met: (1) the Clerk entered
 default against Set Broadcast on May 28, 2019; (2) Set Broadcast failed to defend as to
 the Complaint; (3) Set Broadcast is not an infant or incompetent person; (4) Set
 Broadcast is not serving in the military and thus the Service Members Civil Relief Act
 does not apply; and (5) Plaintiffs served Set Broadcast with notice of the Motion and
 supporting papers on June 28, 2019, in a manner deemed appropriate by the Court.

        Accordingly, Plaintiffs have satisfied the procedural requirements for obtaining
 entry of a default judgment.

       B.     The Eitel Factors

        The choice as to whether a default judgment should be entered is at the sole
 discretion of the trial court. Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir. 1980).
 The Ninth Circuit has determined that a court should consider seven discretionary


 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              4
Case 2:18-cv-03325-MWF-AS Document 58 Filed 07/31/19 Page 5 of 7 Page ID #:442


                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

 Case No. CV 18-3325-MWF (ASx)                       Date: July 31, 2019
 Title:   Amazon Content Services, LLC et al. v. Set Broadcast, LLC, et al.
 factors before rendering a decision on motion for default judgment. Eitel v. McCool,
 782 F.2d 1470, 1471–72 (9th Cir. 1986).

         The seven factors are: (1) the possibility of prejudice to the plaintiff, (2) the
 merits of the plaintiff’s substantive claim, (3) the sufficiency of the Complaint, (4) the
 sum of money at stake in the action, (5) the possibility of a dispute concerning material
 facts, (6) whether the default was due to excusable neglect, and (7) the strong policy
 underlying the Federal Rules of Civil Procedure favoring a decision on the merits. Id.

       The Court determines that, except for the strong policy favoring a decision on
 the merits, which is not dispositive, the Eitel factors weigh in favor of granting the
 Motion.

       C.     Remedies

        Having determined that entry of default is appropriate, the Court next must
 consider remedies. Plaintiffs seek damages, injunctive relief, and post-judgment
 interest. (Mot. at 11-17). These requests are proper because they do not “differ in kind
 from, or exceed in amount, what is demanded in the pleadings.” Craigslist, Inc. v.
 Naturemarket, Inc., 694 F. Supp. 2d 1039, 1051 (N.D. Cal. 2010) (quoting Fed. R. Civ.
 P. 54(c)).

              1.    Damages

      Plaintiffs seek damages totaling $7,650,000, which reflects the statutory
 maximum of $150,000 for each of the 51 representative works infringed by Set
 Broadcast. (See 17 U.S.C. § 504(c)(1)-(2)).

        Statutory damages are “particularly appropriate” in a case in which “defendant
 has failed to mount any defense or to participate in discovery, thereby increasing the
 difficulty of ascertaining plaintiffs actual damages.” Jackson v. Sturkie, 255 F. Supp.
 2d 1096, 1101 (N.D. Cal. 2003). Here, because Defendants have participated in
 minimal discovery and have failed to retain counsel after a period of months, statutory
 damages are an appropriate remedy.
 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              5
Case 2:18-cv-03325-MWF-AS Document 58 Filed 07/31/19 Page 6 of 7 Page ID #:443


                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

 Case No. CV 18-3325-MWF (ASx)                       Date: July 31, 2019
 Title:   Amazon Content Services, LLC et al. v. Set Broadcast, LLC, et al.
        Further, the Ninth Circuit has held that “because awards of statutory damages
 serve both compensatory and punitive purposes, a plaintiff may recover statutory
 damages whether or not there is adequate evidence of the actual damages suffered by
 plaintiff or of the profits reaped by defendant.” L.A. News Serv. V. Reuters Tele. Int’l
 Ltd. 149 F.3d 987, 996 (9th Cir. 1998). In the instant action, Plaintiffs have provided
 51 representative works infringed by Set Broadcast, which Plaintiffs contend is a small
 sliver of the actual number works infringed upon. (See Mot. at 12-13). Thus, the
 actual damages in this case would likely be astronomically higher than the measure
 provided by the maximum statutory damages for the furnished representative works.
 (Id.). For that reason, although the actual damages are unknown, the Court is satisfied
 with the measure of damages provided by maximum statutory damages under the
 Copyright Act multiplied by Plaintiffs’ 51 representative works.

        Finally, as evidenced by Set Broadcast’s numerous advertisements and
 promotions for the Setvnow service touting access to “500+ Channels” and “New
 Releases,” including movies still in theaters, the Court determines that Set Broadcast’s
 infringement was willful. (See Compl. ¶¶ 29-39). Furthermore, in instances of default
 judgment, the Court must take Plaintiffs’ “allegation of willful infringement as true.”
 Warner Bros. Ent’mt Inc. v. Caridi, 346 F. Supp. 2d 1068, 1047 (C.D. Cal. 2004).

       Accordingly, the Court awards Plaintiff a total of $7,650,000 in damages.

              2.    Injunctive relief

        Plaintiffs request a permanent injunction preventing Set Broadcast’s future
 infringement. (Mot. at 14-15). The Copyright Act authorizes courts to grant injunctive
 relief “to prevent or restrain infringement of a copyright.” 17 U.S.C. § 502(a).

        Given that the Court accepts Plaintiffs’ claim that Set Broadcast has violated the
 Copyright Act in the manner described above, the Court finds it appropriate to grant
 the requested injunctive relief.



 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              6
Case 2:18-cv-03325-MWF-AS Document 58 Filed 07/31/19 Page 7 of 7 Page ID #:444


                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                           CIVIL MINUTES—GENERAL

 Case No. CV 18-3325-MWF (ASx)                       Date: July 31, 2019
 Title:   Amazon Content Services, LLC et al. v. Set Broadcast, LLC, et al.
        D.   Request to Extend Trial-Related Deadlines

        At the hearing, Plaintiffs requested a 30-day extension of all trial-related
 deadlines in the Court’s Scheduling Order given pending settlement discussions with
 Defendants Jason Labossiere and Nelson Johnson. (See Order Re: Jury Trial (Docket
 No. 31)). Good cause appearing, the Court GRANTS a 30-day extension of the trial-
 related deadlines.

 III.   CONCLUSION

      For the reasons discussed above, the Motion is GRANTED. Plaintiffs are
 awarded $7,650,000. A separate judgment will issue.

        IT IS SO ORDERED.




 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              7
